  Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 1 of 15 PageID #:1620




   IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
            DISTRICT OF ILLINOIS, EASTERN DIVISION


EDDIE RAY BRADLEY

                  Plaintiff,
                                                  No. 15-cv-08489
                  v.
                                                  Hon. Charles R. Norgle, Sr.
VILLAGE OF UNIVERSITY PARK, et. al.,

                  Defendants.


      BRADLEY’S RESPONSE TO DEFENDANTS’ MOTION FOR
                   SUMMARY JUDGMENT

      NOW COMES the Plaintiff Eddie Ray Bradley and in response to the

Defendants’ Motion for Summary Judgment, states as follows:

      Continuing to ignore the Seventh Circuit’s opinion and their repeated

concessions, the Defendants seek summary judgment. Pretending neither

exists, the Motion operates in a vacuum. For that reason, it is meritless.

                                BACKGROUND

      The Defendants summarily discharged Bradley in violation of his

employment contract and Illinois Municipal Code, as well as his due process

rights. Bradley v. University Park, 929 F.3d 875 (2019). In failing to provide

Bradley with the notice and hearings to which he was entitled under the

contract, Illinois statute, and the Constitution, Defendants violated his
  Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 2 of 15 PageID #:1621




constitutionally protected due process rights and breached the terms of the

employment agreement. The Defendants conceded as much on appeal.

      Bradley’s contract with the Village, along with Illinois law, enumerates

the processes by which police chiefs can be removed from public office, none of

which Defendants bothered to follow. The relevant provisions state: (1) a

mayor must file with the municipality board with reasons for removal and is

effective only is confirmed by a majority of the corporate authorities; (2) no

member of the police department shall be removed except for cause, upon

written charges, and after an opportunity to be heard; and (3) the appointing

authority must file with the corporate authorities the reasons for removal.

      Bradley’s contract with the Village stated that he was entitled to a pre-

termination hearing and a post-termination hearing in the event of removal

from office. However, the Defendants did not notify Bradley of any charges or

allegations against him and to date have provided him with no opportunity to

be heard, or to clear his name, before or after his summary dismissal.

Bradley’s contract also stated that he was entitled to severance, vacation, and

sick pay upon termination.

      After the Defendants terminated Bradley without explanation or cause,

they published a statement throughout the Village that notified the public

that Bradley had been removed from office, thereby defaming him in the eyes

of the public, who he had dutifully served since 2013. Indeed, deponents


                                        2
  Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 3 of 15 PageID #:1622




Griffin, Brooks, Roudez, and Bradley say that the Defendants caused a flyer

to be given to all Village residents. See Exhibit A, Roudez Dep., p. 12:13-24;

13:1-18. See Exhibit B, Griffin Dep, p. 9:5-8; p. 44:12-24; p. 46-46. See Exhibit

C, Brooks Dep., p. 29:5-15.

                                 ARGUMENT

 A. The Seventh Circuit And The Defendants Agree Bradley Has A Property
                                Interest.

      The Defendants’ six pages of argument addressing the due process and

breach of contract counts succumb to a single sentence: The Defendants’

actions “did not comply with the termination provisions of Bradley’s

employment contract, the requirements of state law, or—critical to this

case—the Fourteenth Amendment.” Bradley v. University Park, 929 F.3d 875,

880 (7th Cir. 2019). The Seventh Circuit further found the Defendants’

concessions “suffice to prove a due process claim under § 1983 against the

individual officials and the village itself, where the village acted through

high-ranking officials with policymaking authority.” Id. at 878.

      In addition to the Seventh Circuit, this Court also found the

“Defendants do not dispute that Bradley’s termination deprived him of a

protected interest-his interest in his tenure as Chief of Police.” Doc. 35 at 2.

The Defendants reiterated this position on appeal, plainly admitting Bradley

“had a protected property interest in his employment.” Appellate Doc. 21 at



                                        3
  Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 4 of 15 PageID #:1623




14. They further emphasized “[t]he only question before the Court is the level

of process due.” Id. This prompted the Seventh Circuit to observe “the village

has conceded that Bradley held a protected property interest in his job.” 929

F.3d at 881.

      Citing the Defendants’ own explicit admissions, the Seventh Circuit

framed the undisputed:

               The parties agree that Bradley had a protected property
               interest in his continued employment.

               They agree that the mayor and the village board are the
               policymakers for their municipality on the subject.

               And everyone agrees that although there was ample
               opportunity for a hearing, Bradley received no pretermination
               notice or hearing.

Bradley, 929 F.3d at 878 (emphasis added); Doc. 68 at 2-3.

      The Seventh Circuit then found the “decision to deprive Bradley of due

process is the municipal policy that forms the basis for defendants’ liability.”

Id. at 885. Because the Defendants “did not comply with . . . the Fourteenth

Amendment,” Bradley can “prove a due process claim under § 1983.” Id. at

878; 880. These holdings and the Defendants’ admissions establish liability.

      The mandate rule, which requires a district court follow an appellate

court’s findings on remand thwarts the Defendants’ Motion. Carmody v.

University of Illinois, 893 F.3d 397, 407 (7th Cir. 2018). Under the mandate

rule, any issue the Seventh Circuit decides “may not be reconsidered by the


                                         4
  Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 5 of 15 PageID #:1624




district court on remand.” EEOC v. Sears, 417 F.3d 789, 796 (7th Cir. 2005).

Further, the law of the case doctrine prohibits a district court from

reconsidering an issue a higher court decided. United States v. Adams, 746

F.3d 734, 744 (7th Cir. 2014). Once an appellate court resolves an issue, it is

“binding upon all subsequent proceedings in the same case” per the law of the

case doctrine. Key v. Sullivan, 925 F.2d 1056, 1060 (7th Cir. 1991). These

doctrines confirm that the Defendants’ arguments regarding the elements of

Bradley’s due process claim cannot be reargued now. The Seventh Circuit has

resolved the issue of Bradley’s due process rights and concluded that

Defendants violated them when they disregarded Bradley’s pretermination

hearings. This finding binds all subsequent proceedings on these facts.

      Along with the mandate rule and law of the case doctrine, judicial

estoppel further precludes the Defendants’ property interest switch. “Where a

party assumes a certain position in a legal proceeding, and succeeds in

maintaining that position, he may not thereafter, simply because his

interests have changed, assume a contrary position.” Matter of Cassidy, 892

F.2d 637, 641 (7th Cir. 1990). Judicial estoppel applies to positions in

different proceedings, transferred cases, and the same case. Walton v. Bayer

Corp., 643 F.3d 994, 1002 (7th Cir. 2011). Certain prerequisites must exist for

judicial estoppel to apply: (1) the later position must be clearly inconsistent

with the earlier position; (2) the facts at issue should be the same in both


                                        5
  Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 6 of 15 PageID #:1625




cases; and (3) the party to be estopped must have convinced the first court to

adopt its position. 1st Source Bank v. Neto, 861 F.3d 607, 612 (7th Cir. 2017).

All three elements are clearly met here. The Defendants previously conceded

Bradley satisfied the property interest element (App. Doc. 21 at 14); now they

say he does not. Doc. 105 at 3-7. The facts at issue remain the same of course

as this is the same case. Finally, the Defendants convinced this Court and the

Seventh Circuit to accept their position. See Bradley, 929 F.3d at 878; Doc. 35

at 2. Judicial estoppel thus bars the Defendants’ property interest argument

as a matter of law.

  B. Bradley’s Employment Contact Is Enforceable For The Purposes of His
             Breach of Contract Claim Against The Defendants.

      The Defendants next argue that because Bradley’s contract was void

and unenforceable, Bradley cannot support his breach of contract claim. More

foreboding than the Defendants’ concessions is the Seventh Circuit’s

determination that an employment contract existed and was breached. 929

F.3d at 880. Specifically, the Court explained that the Defendants’ actions

“did not comply with the termination provisions of Bradley’s employment

contract. . . .” Id. This finding is fatal to the Defendants’ Motion.

      Inexplicably, the Defendants’ Motion omits this critical finding, and

thus is misleading. Regardless, the Defendants’ argument cannot survive the

Seventh Circuit’s express determinations under the mandate rule, law of the



                                         6
  Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 7 of 15 PageID #:1626




case doctrine, and equitable estoppel, as set forth above. Moreover, the

Defendants’ en banc petition did not challenge any of the Seventh Circuit’s

findings on the protected property interest or breach of contract. See App.

Doc. 38.

      Additionally, the Court should deny the Defendants’ Motion because

the Defendants breached the employment contract with Bradley when they

failed to terminate his employment pursuant to the guidelines and

procedures contained therein and refused to pay Bradley his severance upon

his termination. The contract itself clearly states the bases upon which

Bradley could be removed from office, but the Defendants instead summarily

terminated Bradley without warning, reason, pretermination and post-

termination hearings, and final compensation.

C. The Defendants Defamed Bradley And Placed Him In A False Light When
             They Published His Removal From Public Office.

      After the Defendants perfunctorily terminated Bradley, they published

notice of Bradley’s termination in a local publication, notifying the public that

Bradley had been removed from office. Absent from the text of the publication

is a description of the circumstances surrounding Bradley’s removal from

office. Defendants did not state that Bradley was summarily terminated

outside of the terms of his contract and without any allegation of misconduct

or wrongdoing. Defendants defamed Bradley and placed him in a false light



                                        7
  Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 8 of 15 PageID #:1627




by suggesting that he was removed because he was unfit, lacked integrity. In

short, Defendant’s actions impeached Bradley’s reputation in his community.

      There are four categories of per se defamation that are recognized in

Illinois: (1) those imputing the commission of a criminal offense; (2) those

imputing infection with a loathsome, communicable disease; (3) those

imputing an inability to perform or want of integrity in the discharge of

duties of office or employment; (4) those that prejudice a party or impute lack

of ability in the party’s trade, profession, or business; and (5) those imputing

adultery or fornication.

      To prove false light, Bradley must demonstrate: (1) that Defendants’

actions placed him in a false light before the public; (2) a reasonable person

would consider the false light highly offensive; (3) the Defendants acted with

knowledge of or reckless disregard for the falsity of the statements. Dubinsky

v. United Airlines Master Executive Council, 708 N.E.2d 441, 451 (Ill. App.

Ct. 1999).

      Bradley argues that Defendants, in publicizing his removal from office

without a name-clearing hearing, imputed an inability to perform his duties

as a public official. This imputation rises to defamation per se because

Defendants’ actions impute the inability to perform or want to integrity in

the discharge of duties of office or employment. Indeed, “[w]ords may be

actionable per se…if they directly tend to prejudice or injure any person in


                                        8
  Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 9 of 15 PageID #:1628




his profession, trade or business and are used in relation to his occupation.”

Korbar v. Hite, 43 Ill. App. 3d 636, 639, 2 Ill. Dec. 158, 160, 357 N.E.2d 135,

137 (1976).

      Additionally, Bradley’s well-publicized removal could not be construed

innocently. A reasonable person would not construe the perfunctory removal

of the police chief to be anything other than humiliating and embarrassing.

Mayor Roudez and Theaplise Brooks, former Vice Chairman of the University

Park Fire and Police Commission, agreed in their depositions that the

imputation of wrongdoing that arises from summary removal is offensive to

the official removed. See Roudez Dep., p. 12:13-24; 13:1-18. See Brooks Dep.,

p. 29:5-15.

      Further, the announcement of Bradley’s removal from public office,

without the truthful context of the illegality of Bradley’s removal, resulted in

harm to Bradley’s reputation within the Village community and the law

enforcement community at large. Due to Defendants’ actions, Bradley was

diminished the eyes of the public. Indeed, Mayor Roudez and Vice Chairman

Brooks testified at his deposition that it was “offensive” for someone to falsely

claim that one failed to perform the duties of his office. See Roudez Dep., p.

12:1-24; p.13:1-13. See Brooks Dep., p. 29:5-15.

  D. Bradley Has Supplied The Record With Enough Evidence To Prove His
          Retaliation Claim Under The Illinois Whistle Blower Act.



                                        9
 Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 10 of 15 PageID #:1629




      Defendants argue that Bradley does not have substantial proof to prove

his claim under the Illinois Whistleblower Act. To establish a claim under the

Act, Bradley must demonstrate that (1) the plaintiff suffered an adverse

employment action (2) in retaliation (3) for the plaintiff’s disclosure to a

governmental or law enforcement agency (4) of suspected violation of Illinois

law. Sweeney v. City of Decatur, 2017 IL App (4th) 160492, ¶ 15, 413 Ill. Dec.

835, 839, 79 N.E.3d 184, 188. Defendants argue that Bradley has failed to

provide evidence that any of his investigations led to his termination. In fact,

Defendants contend that Bradley’s termination was simply the matter of

Mayor Covington not supporting his tenure has police chief.

      However, through depositional testimony taken from Mayor Roudez,

Bradley was able to provide evidence to demonstrate that his termination

was suspect. Mayor Roudez testified that he, Bradley, and Village Trustee

Keith Griffin spoke went to a meeting at the Will County State’s Attorney’s

Office to discuss Bradley’s findings of corruption in the village government.

Shortly after this meeting, Defendants terminated Bradley without notice or

explanation. Although Roudez stated that he could not recall with precision

exactly when this meeting occurred, he estimated it to be one month prior to

Bradley’s termination. See Roudez Dep., p. 43:12-14; 44:1-9. The temporal

proximity of Bradley’s investigations, the meeting at the State’s Attorney’s

Office, and Bradley’s perfunctory termination raise the presumption of


                                        10
 Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 11 of 15 PageID #:1630




retaliation on the part of the Defendants. Therefore, Bradley certainly meets

all essential elements for his claim under the Whistleblower Act: Bradley was

summarily terminated, without warning and outside the terms of his contract

for investigating governmental corruptions and then reporting his findings to

the State’s Attorney’s Office.

 E. Defendants Violated The Wage Payment And Collection Act When They
            Refused To Pay Bradley His Final Compensation.

      Defendants argue that Bradley’s claim under the Wage Payment and

Collection Act fails as a matter of law. Defendants state that there was a lack

of mutual assent between the contracting parties to pay Bradley’s final, owed

compensation, ignoring the plain language of the contract which had the

Village’s and Mayor Covington’s “assent.”

      To state a wage claim under the Act, Bradley must show: (1) the

defendant was an employer; (2) the parties entered into a contract or

agreement; (3) the plaintiff is owed “final compensation.” Catania v. Local

4250/5050, 834 N.E.2d 966, 972 (Ill. App. Ct. 2005). Here, the Defendants

argue that Bradley cannot provide evidence of an “unequivocal promise” to

for Defendants to pay Bradley his final compensation. Defendants rely on

Chagoya v. City of Chicago, which states that a Bradley bringing a claim

under the Act must enter into the record other evidence beyond his own




                                       11
 Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 12 of 15 PageID #:1631




personal conviction that he should have been paid. Chagoya v. City of

Chicago, 992 F.3d 607, 625 (7th Cir. 2021).

      Bradley meets the evidentiary Bradley to demonstrate that his

employer made an “unequivocal promise” to pay him his final wages. Bradley

does not merely rely on his “own personal conviction” that he should be paid.

Indeed, his entitlement to payment is bolstered and corroborated by former

Mayor Covington herself. Mayor Covington, at her deposition, acknowledged

that Bradley was entitled to four-months’ salary in the event of termination.

Exhibit D, Covington Dep., p. 19:21-24; 20:1-6. Additionally, the express

terms of his valid, enforceable employment contract stipulated that he was

entitled to severance, vacation, and sick pay upon termination. Bradley’s

claim under the Act does not emerge from the ether or from some vague

personal conviction; it is grounded in the text of the employment agreement

and bolstered by the sworn testimony of the former mayor who “had sole

discretion and authority to fire Bradley.” Bradley, 929 F.3d 875 at 885.

      Although Defendants admit that it is not necessary of Bradley to prove

that his employment contract was valid and enforceable, Bradley reiterates,

for the reasons stated above, that his contract was an enforceable agreement

for the purposes of his Wage Claim. Again, for Defendants to conveniently

decide, after the contract has been signed, executed, and detrimentally relied




                                       12
 Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 13 of 15 PageID #:1632




upon, that it is retroactively invalid is an improper maneuver by both the

Seventh Circuit and the Supreme Court.

         F. Mayor Covington Is Not Entitled To Qualified Immunity From
                         Bradley’s Due Process Claim.

      Lastly, the Defendants argue that former Mayor Covington is entitled

to qualified immunity regarding Bradley’s due process claim because she did

not reasonably know that summarily terminating Bradley without hearing or

inquiry would violate his due process rights.

      Covington is not entitled to qualified immunity. First, it is unlikely

given Covington’s previous experience as Village Manger (the position that

holds the responsibility of firing public employees) that she would not know

that depriving Bradley of his termination hearings would deprive him of his

due process rights. In fact, Village Trustee Keith Griffin testified that Mayor

Covington served as acting Village Manager until the role was filled by Bola

Delano. See Griffin Dep., p. 48:4-8.

      Most compelling is the Seventh Circuit’s findings that the mayor and

the village not only had the responsibility to follow state law, which required

the Defendants to comply with the termination provisions in Bradley’s

contract, but both had the authority to fire Bradley. Citing 65 Ill. Comp.

Stat. 5/10-2.1-17, the court found that “state law delegated this authority to

their offices.” Bradley v. Vill. of Univ. Park, 929 F.3d 875, 881 (7th Cir.

2019).

                                        13
 Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 14 of 15 PageID #:1633




The Court goes on to cite the Code of Ordinances for University Part Sec.

210-10, which states that the mayor sits on the village board, and Sec.

220-02 and 05, of the Village Code, which states the mayor, together with the

board and the village manager, can appoint and remove the police chief. Id.

Indeed, the Court found that following the procedures outlined in the statute

and in the contract would satisfy “the basic federal constitutional

requirement that the village offer its tenured employees notice and an

opportunity to be heard before hiring them.” Id.

      It should also be noted that the Defendants previously argued for

Mayor Covington’s qualified immunity in Bradley. They attempted to

persuade the court that the deprivation of Bradley’s due process rights was

the result of a “random and unauthorized act” beyond the control of the state,

thus shielding top policymakers, like Mayor Covington, from liability. The

Seventh Circuit rejected this argument. The court found “the decision to fire

Bradley was made by the top municipal officials” and that “[a municipality]

can be held liable for a constitutional violation only if the violation resulted

from a formal policy, an informal custom, or a decision ‘made by its

lawmakers or by those whose edict or acts may fairly be said to represent

official policy.’” Bradley, 929 F.3d 875 at 879, citing Monell v. New York City

Dep't of Social Services, 436 U.S. 658, 694 (1978). Mayor Covington, all

parties agreed, is a policymaker for the municipality. Bradley, 929 F.3d 875


                                        14
 Case: 1:15-cv-08489 Document #: 117 Filed: 10/22/21 Page 15 of 15 PageID #:1634




at 878. Thus, pursuant to the Seventh Circuit, Mayor Covington cannot be

immune from liability for participating in the deprivation of Bradley’s due

process rights.

                               CONCLUSION

      Bradley respectfully requests the Court deny Defendants’ Motion for

Summary Judgment and grant Bradley summary judgment.

                                     Respectfully submitted,

                                     /s/ John T. Moran
                                     The Moran Law Group
                                     723 Beacon Drive
                                     Lake Barrington, IL 60010
                                     (312) 405-4474
                                     j.t.m.moran@gmail.com

                                     s/ Christopher Keleher
                                     Christopher Keleher
                                     The Keleher Appellate Law Group, LLC
                                     155 North Wacker Drive, Suite 4250
                                     Chicago, Illinois 60606
                                     (312) 448-8491
                                     ckeleher@appellatelawgroup.com




                                       15
